Case 1:18-cv-08077-VSB Document 18 Filed 01/18/19 Page 1 of 10

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

LUIS LONGHI,
Plaintiff,
CASE NO. 1:18-cv-08077
Vv.
ECF CASE
LOMBARD RISK SYSTEMS, INC., :
A VERMEG LTD COMPANY : Hon. Vernon S. Broderick

Defendant.

 

REPLY MEMORANDUM IN SUPPORT OF
MOTION TO DISMISS FIRST AMENDED COMPLAINT
AND IN OPPOSITION TO PLAINTIFF’S CROSS MOTION
TO FILE SECOND AMENDED COMPLAINT

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IL.

If.

Case 1:18-cv-08077-VSB Document 18 Filed 01/18/19 Page 2 of 10

TABLE OF CONTENTS
Page
INTRODUCTION uiieccccccccccsssccsscsscssessecsccecssesseeseeeecsssesenscsecssesaresessessesassessessserseesesarseensonss 1
ARGUMENT ...ecccccccccssssssesscsscssceseescssesseeaesseenesesessessussssssssssssessessessaseessrensesaesngenesseenensenaoess 1
A, Plaintiffs breach of contract claim fails as a matter Of LAW wo... ceeseeseeteereeeeteeees 1
1, The Agreement Confirmed Defendant’s Discretion Regarding The
Timing and Amount of Any Bonus ......ccccecceeseneeeereteneetenterenesesseneenees 1
2. Emails Between Plaintiff and His Supervisor Did Not Modify the
Agreement and Confirmed the Supervisor’s Lack of Authority... 2
3. Plaintiff was not entitled to three-month’s severance pay per the
plain terms of the Agreement... ccccsessseeeeeeetenenerrerenenseernseeesssereeesees 4
B. Plaintiff's motion for leave to amend the Complaint a second time should
be denied wc. cceccsecscccsscscscesseeesscsseecssecescessnsceeascssesceseessaesessenseessseseeeennessseerseeeeensees 5
CONCLUSION ...cccccccscesscescccsessecseccssessecseessecesecssesssessessseeseecsaseeseaessaessesenesseesneeseeesueneeneesns 7
Case 1:18-cv-08077-VSB Document 18 Filed 01/18/19 Page 3 of 10

TABLE OF AUTHORITIES

Cases

Alaska Electric Pension Fund y. Bank of America Corporation,

175 F.Supp.3d 44, 64 (S.D.N.Y. 2016)... cecseseeneteetensenerersenssseneereesesseeessenenes

Cohen v. Avanade, Inc.,

874 F.Supp.2d 315 (SDNY. 2012) ssossssssssssssessssennnnnnnessnnnnsssssssssssssseeeeeseseesenns

IBEW Local Union No. 58 Pension Fund & Annuity Fund v. Royal Bank of
Scotland Grp., PLC,

83 F.3d 383 (2d Cir, 2015)ecscsssssssssssssssssssssssssessssessccceseseeececeeccecserereceeseeseeceseseenee

Margel v. E.G.L. Gem Lab Ltd., No. 04 Civ. 1514, 2010 WL 445192, *9

(S.D.N.Y. Feb, 8, 2010) secccsssssssssssssssssssssssecesessesrsnnsssssssseeeeesecsesssssssnseeeeneenniss

MBIA Ins. Corp. v. Cooperatieve Centrale Raiffeisen-Boerenleenbank, B.A.,

No. 09 Civ. 10093(RJS), 2011 WL 1197634 (S.D.N.Y. Mar. 25, 2011) one

Minskoff v. American Express Travel Related Services Co.,

98 F.3d 703 (2d Cir, 1996)... .ecccccesccessessseeesenerenereeteneeenseseseerseesesassenssseneesenenees

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No, 14-CV-7120, 2017 WL 819487 (S.D.N.Y. Mar. 1, 2017) .ccecseeeteererees

Negrete v. Citibank, N.A.,

187 F.Supp.3d 454, 470 (S.D.N.Y. 2016) .ccsceeeesesererereieneneeseneeneeenenenenenes

Seiden Assocs., Inc. v. ANC Holdings, Inc.,

959 F.2d 425 (2d Cir. 1992)eccecssssssscesssssssssssessesssesesssstscstsesersrsesessssetsssrssessessseeetee

Vetromile v. JPI Partners, LLC,

706 F.Supp.2d 442, 448 (S.D.N.Y. 2010) cccceeetereseeeesesetereeseserereenetessereenenerens

Wolff v. Rare Medium, Inc.,

171 F.Supp.2d 354 (S.D.N.Y. 2001 )..ccecececessesereteneeeseneseesessrenseneteseeneenerenens

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Fed. R. Civ. P. Rule 12(b)(6) occ ceessesessesesssssesseeseeresertersecteenecnserseseseserersnesnssneeeenes

-ii-

Page(s)
Case 1:18-cv-08077-VSB Document 18 Filed 01/18/19 Page 4 of 10

I. INTRODUCTION

Plaintiff has abandoned his unjust enrichment and guantum meruit claims, and his
arguments in support of the breach of contract claim fail to address or correct the insufficiency of
the allegations in the First Amended Complaint (the “Complaint”). Therefore, the entire
Complaint should be dismissed with prejudice.

This Court should also deny Plaintiff leave to amend the Complaint further. This Court
has already warned that it is unlikely to allow any further amendment, and the proposed addition
of a claim for breach of the covenant of good faith and fair dealing — even if permitted — would
be dismissed for the same reasons that require dismissal of the other claims.

II. ARGUMENT
A. Plaintiff’s breach of contract claim fails as a matter of law.

Plaintiff's employment agreement vested discretion regarding the criteria for the “annual
on target earnings” bonus and the amount of the bonus in Defendant, Lombard Risk. Neither the
employment agreement nor any other document or action of Defendant automatically entitled
Plaintiff to a quarterly bonus of $75,000. Additionally, because Plaintiff was terminated “during
the first six months of employment,” he was entitled to and received one month’s pay in lieu of
one month’s notice of termination.

1. The Agreement Confirmed Defendant’s Discretion Regarding The
Timing and Amount of Any Bonus.

The Agreement’s bonus provision provides as follows:

Please note that the basis on which your bonus is calculated may
vary at the discretion of the Company and in accordance with the
goals and objectives issued to you by the Company from time to

time.
Case 1:18-cv-08077-VSB Document 18 Filed 01/18/19 Page 5 of 10

Def.’s Motion, Kennedy Decl., Exhibit 1, at § 3.2 (emphasis added). This language confirms that
Defendant retained discretion as to whether and when a bonus would be awarded, and if a bonus
was awarded, discretion as to the amount of the bonus.

An employee “cannot recover for an employer’s failure to pay a bonus under a
compensation plan that provides the employer with absolute discretion over bonus
determinations.” Cohen v. Avanade, Inc., 874 F.Supp.2d 315, 324 (S.D.N.Y. 2012); see also
Vetromile vy. JPI Partners, LLC, 706 F.Supp.2d 442, 448 (S.D.N.Y. 2010) (holding that the
following bonus provision was discretionary: “[flor the first three years of employment a
minimum of $100,000.00 bonus will be paid as approved by Defendant” (emphasis added)).

Plaintiff argues that “[t]he only discretion that Defendant had was issuing the
performance goals,” id. at Pl.’s Memorandum, at 7-8. He argues that Defendant exercised all of
its discretion through an undisclosed “email agreement” that set forth “specific monetary goals”
and that Defendant’s CEO “confirmed via email on March 9, 2018 that Plaintiff met his
monetary objective and should be paid 25% of the annual OTE bonus.” Pl. Mem. at 1.

Plaintiff's argument is directly contrary to this court’s precedent, which recognizes an
employer’s ability to retain discretion regarding bonuses and that would recognize the language
in the employment agreement as confirming Defendant’s discretion.

Because the Agreement unambiguously provides that Defendant had absolute discretion
over Plaintiff's bonus calculation, Plaintiffs contract claim for additional bonus payment should
be dismissed.

2. Emails Between Plaintiff and His Supervisor Did Not Modify the
Agreement and Confirmed the Supervisor’s Lack of Authority.

Even if the clear reservation of discretion could have been overcome by a later

agreement, Plaintiff's allegations fail to establish that Defendant relinquished its discretion or

-2-
Case 1:18-cv-08077-VSB Document 18 Filed 01/18/19 Page 6 of 10

modified the agreement. Plaintiff argues that Defendant exercised all of its discretion through an
undisclosed “email agreement” that set forth “specific monetary goals” and that Defendant’s
CEO “confirmed via email on March 9, 2018 that Plaintiff met his monetary objective and
should be paid 25% of the annual OTE bonus.” Pl. Mem. at 1.

Contrary to Plaintiff's arguments, Brown’s email did not confirm that Plaintiff had met
any objectives - “You are going to deliver more than your scrubbed forecast.” Plaintiff provides
no confirmation that the “scrubbed forecast” was the sole bonus criteria or that he actually
delivered more than the scrubbed forecast. Indeed, he alleges only that the prediction in the
March 9 email confirms that the objective was met.

Furthermore, Plaintiff essentially ignores the portion of the same email, in which Brown
confirms that he does not have authority to award Plaintiff the bonus — “I am probably going to
dress part of that up as a retention incentive for Vermeg’s sake.” Compl., § 17. If Brown had
authority to issue the bonus criteria, confirm that Plaintiff had met the criteria, and set the bonus
amount, he would not have to “dress up” the bonus as a retention incentive for the parent
corporation’s sake.

Moreover, Plaintiffs allegations and arguments fail to establish that Brown had either
actual or apparent authority to circumvent the Agreement and legally bind the company to a
bonus Brown thought was appropriate. Plaintiff suggests that Brown “at minimum had apparent
authority to ... authorize payment of the bonus.” PI. Mem., at 12. The case Plaintiff relies on,
however, defeats his argument: “Apparent authority, then, is normally created through the words
and conduct of the principal as they are interpreted by a third party, and cannot be established by
the actions or representations of the agent.” Id. (quoting Minskoff v. American Express Travel

Related Services Co., 98 F.3d 703, 708 (2d Cir. 1996) (emphasis added)). The words and actions
Case 1:18-cv-08077-VSB Document 18 Filed 01/18/19 Page 7 of 10

of Brown, as the alleged agent of Defendant, cannot establish his apparent authority to act on
behalf of Defendant.

As aresult, the emails do not alter the conclusion that Defendant did not breach the bonus
provision of the Agreement.

3. Plaintiff was not entitled to three-month’s severance pay per the plain
terms of the Agreement.

Plaintiff fails in his creative efforts to make the term “months” ambiguous. Ambiguity
does not exist “where one party’s view strain[s] the contract language beyond its reasonable and
ordinary meaning.” MBIA Ins. Corp. v. Cooperatieve Centrale Raiffeisen-Boerenleenbank, B.A.,
No. 09 Civ. 10093(RJS), 2011 WL 1197634, *6 (S.D.N.Y. Mar. 25, 2011) (quoting Seiden
Assocs., Inc. v. ANC Holdings, Inc., 959 F.2d 425, 428 (2d Cir. 1992)).

The Agreement provides that “[t]he length of notice to be given by either party is three
(3) months. However, during the first six months of employment, the length of notice to be given

by either party is only one month.” Def.’s Motion, Kennedy Decl., Exhibit 1, at § 11.2 (emphasis

 

added). Plaintiff began his employment on December 4, 2017, and his employment was
terminated on June 3, 2018, which was “during the first six months.” Therefore, Plaintiff was
properly provided with one month’s pay in lieu of notice.

To manufacture ambiguity, Plaintiff urges that “[n]owhere in the Statement is ‘month’
defined as opposed to the Statement defining work week as 40 hours, Monday to Friday and the

work day as 9 AM to 6 PM.” Pl. Mem. at 6. Plaintiff argues that the “contractual provisions ...

 

| For these reasons, Plaintiffs argument that the emails constituted a modification of the
Agreement also fails. That is, Brown lack the actual or apparent authority to modify the
Agreement. Defendant does not address the theory that the emails constituted a separate contract
because Plaintiff alleges only that “(Lombard breached §f’s 3.2 and 11.2 of the [Agreement].”
Compl. § 33. And, Plaintiff admits these emails were “proof of performance ... and not a
separate contract.” Pl.’s Memorandum, at 12.
Case 1:18-cv-08077-VSB Document 18 Filed 01/18/19 Page 8 of 10

eschew reliance on calendar days.” Jd. at 13. This Court should reject Plaintiff's attempt to
redefine the term “month” and dismiss the claim for additional severance pay.

Contrary to Plaintiffs argument, the Agreement does not use a unique definition of the
terms “day” or “week.” It provides only that “[Plaintiff’s] working week will formally be 40
hours, Monday to Friday .... The Company’s normal business and working hours are 9:00 am to
6:00 pm.” Def.’s Motion, Kennedy Decl., Exhibit 1, at {4.142 (emphasis added). These
clauses do not supply definitions; they merely informed Plaintiff as to work expectations.
Moreover, the agreement repeatedly uses the term “day” when referring to, for example,
holidays, vacation, or other time off, without ever defining the word “day.” Similarly, there is no
evidence in the agreement that the parties intended the word “month” to mean anything other
than a month. Because this term of the agreement is unambiguous, and Plaintiff was properly
paid one month’s severance, Plaintiffs claim that Defendant breached § 11.2 of the Agreement
should be dismissed.

B. Plaintiff’s motion for leave to amend the Complaint a second time should be
denied.

This Court has already determined it is unlikely to allow any further amendments to the
Complaint. See Order, Docket entry # 8. In any event, Plaintiffs request to add a cause of action
for Breach of the Covenant of Good Faith and Fair Dealing would be futile. “Proposed
amendments are futile if they would fail to cure deficiencies or to state a claim under Rule
12(b)(6) of the Federal Rules of Civil Procedure.” IBEW Local Union No. 58 Pension Fund &
Annuity Fund v. Royal Bank of Scotland Grp., PLC, 783 F.3d 383, 389 (2d Cir. 2015)
(quotations omitted).

“fA]n implied-covenant claim is not a valid alternative theory of recovery when it is

based on the exact same allegations as a breach-of-contract claim.” Alaska Electric Pension

5.
Case 1:18-cv-08077-VSB Document 18 Filed 01/18/19 Page 9 of 10

Fund v. Bank of America Corporation, 175 F.Supp.3d 44, 64 (S.D.N.Y. 2016). Accordingly,
Courts in this district have routinely held that when a plaintiff seeks to add a claim for breach of
the covenant of good faith and fair dealing that is duplicative of a breach of contract claim, such
an amendment is futile. See, e.g., Negrete v. Citibank, N.A., 187 F.Supp.3d 454, 470 (S.D.N.Y.
2016); The Najjar Group, LLC v. West 56" Hotel, LLC, No. 14-CV-7120, 2017 WL 819487, *6
(S.D.N.Y. Mar. 1, 2017); Margel v. E.G.L. Gem Lab Lid., No. 04 Civ. 1514, 2010 WL 445192,
*9 (S.D.N.Y. Feb. 8, 2010).

Plaintiff's new allegation that Defendant did not issue sales goals to Plaintiff creates the
illusion that his proposed implied-covenant claim is distinct from his breach of contract claim. In
reality, however, both claims rely on the same misconception that if Plaintiff met a sales goal, he
was automatically entitled to a quarterly bonus, regardless of the Defendant’s discretion as
clearly established in the Agreement. Not only does Plaintiff mischaracterize the bonus provision
of the Agreement, but he also reads in terms that are not there. He believes when he was
terminated during the first quarter of 2019, he was entitled to a pro rata share of the allegedly
automatic quarterly bonus he would have received—that is, a pro rata share of a pro rata share
of his annual bonus. See Decl. of Jon W. Green, Exhibit 1, at ¢ 21-22. This belief finds no
support in the Agreement. Thus, Plaintiff would merely use this new cause of action to try to add
contractual terms, just as he attempted to do with his unjust enrichment and quantum meruit
claims. See Wolff v. Rare Medium, Inc., 171 F.Supp.2d 354, 359 (S.D.N.Y. 2001) (“[T]he
obligation of good faith cannot be used to create independent obligations beyond those agreed

upon and stated in the express language of the contract.”).
Case 1:18-cv-08077-VSB Document 18 Filed 01/18/19 Page 10 of 10

Because this Court has warned that it is unlikely to allow any further amendments, and
because Plaintiff's proposed amendment would be futile, Plaintiff's Cross Motion to File and
Serve a Second Amended Complaint should be denied.

Il. CONCLUSION

For the foregoing reasons, the claims for breach of contract, unjust enrichment, and
quantum meruit should be dismissed because they fail to state a claim upon which relief may be
granted, and leave to replead should be denied.

Respectfully submitted,

Dated: January 18, 2019 /s/ William_K. Kennedy
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